            U N I T E D S TAT E S D I S T R I C T C O U RT
         FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION


 Richard Lowery, on behalf of himself         Civil Action No.
 and others similarly situated,               4:22-cv-03091

                      Plaintiff,
                                              Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                      Defendants.


PLAINTIFF’S SECOND ADDITIONAL NOTICE TO THE COURT
      Yesterday the dean of the Mays Business School and the interim head of the

Finance Department sent a reappointment letter to Adam Kolasinski, the James W.

Ashton Republic Bank endowed professorship in Finance at the Mays Business

School. The reappointment letter is dated July 31, 2023, and it sets forth the terms

of Professor Kolasinski’s continued employment at Texas A&M University for the

2023–2024 academic year. The following paragraph appears in the reappointment

letter under the heading “Effort Assigned”:

        Mays Business School’s expectations for holding a tenured/tenure
        track position include effective undergraduate and graduate classroom
        teaching [redacted] courses (or equivalent) per academic year; men-
        toring and supervision of undergraduate and graduate students and
        postdoctoral students, particularly recruiting and mentoring of doc-
        toral students and guiding them through graduation in a timely man-
        ner; establishment of a sustainable research program through external
        funding; publication of papers with students in venues that demon-
        strate impact; contributions to Texas A&M diversity and inclusion
        goals, and providing a degree of service to Texas A&M University and
        the professional community.



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Exhibit 1, page 2 (emphasis added). And the university’s “diversity and inclusion

goals” are described on its website, which still include the following:

       o In new hires, increase by 100% the diversity of our faculty to better
         reflect the diversity of our student body.

       o Increase by 50% the retention of women faculty on the tenure track
         to better reflect the diversity of our student body.
See https://diversity.tamu.edu/Home/Strategic-Planning (last visited on August 1,
2023). A copy of this webpage is also available at ECF No. 34-1.

    Reappointment letters prior to the Banks administration did not require tenured

or tenure-track faculty to contribute to Texas A&M’s diversity and inclusion goals.
See Kolasinski Decl. at ¶ 7 (attached as Exhibit 2). Yet the university continues to

include this diversity-and-inclusion language in its reappointment letters, which
places its tenured and tenure-track faculty under contractually binding commitment

to discriminate against white or Asian men in faculty-hiring decisions. See id. at ¶ 6.

And it does so despite the recent enactment of Senate Bill 17 and the Supreme
Court’s ruling in Students for Fair Admissions. These are not the actions of a univer-

sity committed to colorblind and sex-neutral hiring. And Mr. Lowery’s claims can-

not be moot when Texas A&M continues to require its faculty to “contribute” to the
university’s illegal diversity-and-inclusion goals.

                                  CONCLUSION
    The motion to dismiss for lack of justiciability should be denied.




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                                       Respectfully submitted.

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Dated: August 1, 2023                  the Proposed Class




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                         CERTIFICATE OF SERVICE
    I certify that on August 1, 2023, I served this document through CM/ECF upon:

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